Case 1:13-cv-00035-JTC Document 7 Filed 10/02/13 Page 1 of 2

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

MARCUS SALISBURY
Plaintiff Case Number: 13-cv-35
vs.

PREMIER RECOVERY GROUP, INC.

Defendant

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NOTICE OF VOLUNTARY DISMISSAL
PLEASE TAKE NOTICE that Plaintiff, MARCUS SALISBURY, pursuant to
Rule 41(a)(1)(i) of the Rules of the United States District Court, hereby dismisses the

action captioned above, without prejudice.

Warren Law Group, P.C.

BY: _/s/ Bruce K. Warren
Bruce K. Warren, Esquire
Attorney for Plaintiff
Warren Law Group, P.C.
58 Euclid Street
Woodbury, NJ 08096
856-848-4572
Case 1:13-cv-00035-JTC Document 7 Filed 10/02/13 Page 2 of 2

Case 1:13-cv-00035-JTC Document 4 Filed 01/11/13 Page 1 of 2

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MARCUS SALISBURY

ons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Western District of New York

 

 

PREMIER RECOVERY GROUP, INC.

Plaintiff(s)

Vv. 1:13-CV-35

Civil Action No.

 

To: (Defendant’s name

A lawsuit h

Within 21
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P. 12 (a)(2) or (3) 4
the Federal Rules a
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If you fail
You also must file

Date, Janua

ry 11, 2013

 

Nee ee ee ee ee ee ee ee ee ee ee

Defendant(s)
SUMMONS IN A CIVIL ACTION

and address) Premier Recovery Group, Inc.
395 East Ferry Street
Buffalo, NY 14208

as been filed against you.

Hays after service of this summons on you (not counting the day you received it) — or 60 days if you
bs or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
t- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
f Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
idress are: Bruce K. Warren, Esq.

Warren Law Group, P.C.

58 Euclid Street

Woodbury, NJ 08096

856-848-4572

Bruce@warren-lawfirm.com

to respond, judgment by default will be entered against you for the relief demanded in the complaint.

your answer or motion with the court.

CLERK OF COURT

 

 

 
